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AO 91 (Res: 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Northern District of Florida
United States of America )
Vv. )
) Case No. 3:21mj118
MICHAEL D. JOHNSON )
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of October 23, 2020, in the county of Okaloosa in the
Northern District of Florida , the defendant(s) violated:
Code Section Offense Description
21 U.S.C. § 841(a)(1) Possession with Intent to Distribute a Controlled Substance

This criminal complaint is based on these facts:
SEE ATTACHED SHEET (AFFIDAVIT).

@ Continued on the attached sheet.

Wattle Landes

Complainant's signature

Mitchell R. Landis, DEA Task Force Officer

Printed name and title

Attested to by the complainant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: 3-26-21 nf /t [he

Judge's signdture
City and state: Pensacola, Florida Elizabeth M. Timothy, Chief U.S. Magistrate Judge
ECD uSoC FLND PR Printed name and title

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